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                                UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                           O RLANDO D IVISION

    JAMES PRATER,

                                  Plaintiff,

    -vs-                                                      Case No. 6:07-cv-888-Orl-31DAB

    FLORIDA POWER & LIGHT COMPANY,

                            Defendant.
    ______________________________________

                                                 ORDER

           This matter comes before the Court on the response (Doc. 49) to the order (Doc. 48)

    denying the Defendant’s motion to dismiss for lack of subject matter jurisdiction (Doc. 28) and

    ordering the Defendant to show cause why sanctions should not be imposed for filing a frivolous

    motion.

           Nearly a year after removing this employment discrimination case to federal court, the

    Defendant argued that the Court lacked subject matter jurisdiction because the Plaintiff (1) had not

    explicitly invoked federal jurisdiction in his state court complaint and (2) had not attached a copy

    of his charge of discrimination or right-to-sue letter to his complaint. As the Court pointed out in

    its order, the motion was meritless for a number of reasons. The law does not require that those

    documents be attached to a complaint. The issue to which those documents relate – exhaustion of

    remedies – had been adequately alleged in the verified complaint (along with Plaintiff’s claims

    under the Americans with Disabilities Act, which obviously gave rise to federal question

    jurisdiction). The Defendant had these documents in its possession prior to filing the motion, and
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    thereby knew whether the Plaintiff had satisfied the pertinent requirements.1 And neither the

    charge nor the right-to-sue letter affects the Court’s subject matter jurisdiction; at most a plaintiff’s

    failure to obtain those documents would lead to dismissal for failure to state a claim.

           The Defendant does not contradict the points raised above or even respond to them on the

    merits. Rather, the Defendant essentially does nothing more than reiterate the allegations of the

    motion to dismiss – i.e., that plaintiffs asserting employment discrimination must exhaust their

    administrative remedies. Disingenuously, the Defendant also asserts that the motion was based on

    a lack of documentation from which the Court could determine whether the Plaintiff had

    exhausted those remedies. Of course, in the absence of any assertion that the Plaintiff has failed to

    exhaust his administrative remedies, the Court has no need of any such documents.

           In pertinent part, 28 U.S.C. § 1927 provides that the Court may require an attorney who

    “multiplies the proceedings in any case unreasonably and vexatiously ... to satisfy personally the

    excess costs, expenses, and attorneys’ fees incurred because of such conduct.” After reviewing the

    response filed by counsel for the Defendant, the Court is convinced that the motion to dismiss was

    filed unreasonably and vexatiously, for the purpose of multiplying these proceedings, which it

    accomplished. Accordingly, pursuant to 28 U.S.C. § 1927, it is hereby

           ORDERED that counsel for the Defendant, Ellen S. Malasky, is hereby personally

    SANCTIONED in the amount of the reasonable costs, expenses, and attorneys’ fees incurred by

    the Plaintiff in responding to the motion to dismiss. The Plaintiff shall file an accounting of those




           1
             Tellingly, neither the motion to dismiss nor the response to the order denying it contains an
    allegation that the Plaintiff failed to exhaust his administrative remedies.

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    sums not more than ten days from the entry of this order, and Malasky shall have ten days

    thereafter in which to file any objections as to the reasonableness of the amount sought.

           DONE and ORDERED in Chambers, Orlando, Florida on June 20, 2008.




    Copies furnished to:

    Counsel of Record
    Unrepresented Party




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